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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



ABC CORPORATION I,                                  )
ABC CORPORATION II,                                 )
                                                    )
                        Plaintiffs,                 )
                                                    )   Case No. 1:20-cv-4806
        v.                                          )
                                                    )   Judge Thomas M. Durkin
THE PARTNERSHIPS AND                                )
UNINCORPORATED ASSOCIATIONS                         )   Magistrate Judge Jeffrey Cole
IDENTIFIED ON SCHEDULE A,                           )
                                                    )
                        Defendants.                 )
                                                    )
                                                    )


                          NOTICE OF RECENT RELATED DECISION

        Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and third-party respondents Gyroor,

Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively, “Third-Party

Respondents”) respectfully submit this Notice of Recent Related Decision in reference to Plaintiffs

Hangzhou Chic Intelligent Technology Co., Ltd. (“Chic”) and Unicorn Global, Inc.’s (“Unicorn”, and

collectively with Chic, “Plaintiffs”) pending Motion for Return of Bond (the “Motion”). [Dkt. No. 653-

656].

        Since briefing of the Motion, Plaintiffs have brought another similar motion for return of bond

in a parallel case captioned as “Hangzhou Chic Intelligent Technology Co., Ltd., et al v. The Partnerships

and Unincorporated Associations Identified on Schedule A, et al, Case No: 1:20-cv-05905”. In this

parallel case, after fully briefing the relevant issues, this Court has denied Plaintiffs’ motion for return

of bond as premature. A true and correct copy of this Order is attached hereto as Exhibit 1.

        In this Order, this Court stated that “this Court previously issued a TRO and a preliminary



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injunction, but later vacated the preliminary injunction for lack of notice. Meanwhile, the case is still

pending on the merits. Defendant might seek damages someday based on the notion that it was

‘wrongfully enjoined or restrained,’ as provided in Rule 65(c). That possibility is enough to justify the

continuation of the bond. Plaintiffs obtained injunctive relief, and posted a bond as a security in case the

bond was improper. And that issue remains unresolved, so the bond needs to remain in place.”




 Date: 08/01/2023                                    /s/ Yu-Hao Yao
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                                       Respondents




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this August 1, 2023, I electronically filed the foregoing file

with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of

record and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: 08/01/2023                                 /s/ Yu-Hao Yao




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